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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )   Criminal No. 6:13-cr-00048-GFVT-HAI-2
                                                  )
 V.                                               )
                                                  )
 LORAN BELCHER,                                   )                    ORDER
                                                  )
                                                  )
        Defendant.

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 356.] Defendant Loran Belcher is charged with five

violations of her supervised release. [Id. at 2.] At a hearing before Judge Ingram on September

26, 2017, Ms. Belcher admitted the factual basis for all violations. The matter was then referred

to Judge Ingram to recommend a proposed disposition.

       On April 18, 2018, Judge Ingram issued a Recommended Disposition which recommends

revocation of Ms. Belcher’s term of supervised release and a twelve-month and one-day term of

incarceration, followed by a three-year period of supervised release. [See id. at 8.] In reaching

this recommendation, Judge Ingram ultimately adopted the joint recommendation of both of the

parties. Judge Ingram considered the Defendant’s past compliance with supervised release, but

recognized her use of methamphetamine as being closely related to the offense for which she

was convicted. [Id. at 6.] Judge Ingram also acknowledged that defendant was given an

opportunity to complete an outpatient substance abuse program upon her initial violation, but

was terminated from the program after she stopped attending. [See id. at 7.] On the whole,
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Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors throughout his

Recommended Disposition, and he adequately explained why a sentence of mid-guideline

sentence is appropriate in this case.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition advises the parties that objections must be filed within fourteen (14) days of service.

[Id. at 7]; 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended Disposition

were made by either party. Instead, Ms. Belcher, through counsel, filed a waiver of allocution on

April 25, 2018. [R. 358.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1. The Recommended Disposition [R. 356] as to Defendant Loran Belcher is

ADOPTED as and for the Opinion of the Court;

       2. Defendant Loran Belcher is found to have violated the terms of her Supervised

Release as set forth in the report filed by the United States Probation Officer and the

Recommended Disposition of the Magistrate Judge;



                                                  2
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     3. Ms. Belcher’s supervised release is REVOKED;

     4. Ms. Belcher is sentenced to a term of twelve (12) months and one (1) day of

        incarceration, with a thirty-six (36) month term of supervised release to follow;

     5. Upon Ms. Belcher’s release, she shall continue under the conditions of supervised

        release previously imposed.



     This the 30th day of April, 2018.




                                            3
